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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )
                                                )                8:08CR346
       vs.                                      )
                                                )                  ORDER
JASON McCARTHY and                              )
SUSAN BERRY-SWANSON,                            )
                                                )
                     Defendants.                )


      This matter is before the court on the motion of defendant, Jason McCarthy, for an
extension of time in which to file pretrial motions (Doc. 34). For good cause shown,

       IT IS ORDERED that the motion (Doc. 34) is granted, as follows:

        1. The deadline for filing pretrial motions is extended to November 20, 2008 as
to all defendants.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of
this motion, that is, the time between November 6, 2008 and November 20, 2008, shall
be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason that counsel require additional time to adequately prepare
the case, taking into consideration due diligence of counsel and the novelty and complexity
of this case. The failure to grant additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B)(iv).

      3. Any trial previously scheduled is cancelled, as to all defendants. A new trial
date will be set after November 20, 2008 or after the resolution of any substantive pretrial
motions which may be filed.

       DATED November 5, 2008.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
